Case 2:15-cv-07932-JAK-FFM Document 96 Filed 11/27/17 Page 1 of 2 Page ID #:953



 1    ARNOLDO CASILLAS, ESQ., SBN 158519
      CASILLAS & ASSOCIATES
 2    3777 Long Beach Boulevard, 3rd Floor
 3    Long Beach, California 90807
      Telephone: (562) 203-3030
 4    Facsimile: (323) 297-2833
 5    Email: acasillas@morenolawoffices.com
 6    Attorneys for Plaintiffs,
 7    Estate of Norma Guzman and Gloria Gonzalez
 8                           UNITED STATES DISTRICT COURT
 9
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10

 11   ESTATE OF NORMA GUZMAN, by ) Lead Case No.: CV15-07932 JAK (FFMx)
      and through successor in interest ) Consolidated with.: CV16-03101 JAK (FFMx)
 12   GLORIA GONZALEZ, individually, )
 13                                     ) Hon Judge: John A. Kronstadt; Ctrm 750
             Plaintiffs,                ) Hon Magistrate Judge: Frederick F. Mumm
 14   vs.                               )
 15                                     ) NOTICE OF CONDITIONAL
      CITY OF LOS ANGELES, DOE          ) SETTLEMENT OF ENTIRE ACTION
 16   OFFICERS 1 through 5 and DOES 6 )
 17   through 10, INCLUSIVE, and DOES )
      1 through 10,                     )
 18                                     )
 19          Defendant.                 )
                                        )
 20                                     )
 21   AND CONSOLIDATED ACTION(S) )
                                        )
 22

 23         COME NOW PLAINTIFFS ESTATE OF NORMA GUZMAN, by and
 24   through successor in interest, and GLORIA GONZALEZ, individually, and hereby
 25   gives notice that all parties in the above consolidated action have reached a
 26   conditional settlement. The settlement is conditioned upon the approval by the City
 27   Council for the City of Los Angeles and the execution of settlement documents. The
 28   parties will thereafter file a stipulation re dismissal.
                                                    1
                         NOTICE OF CONDITIONAL SETTLEMENT OF ENTIRE ACTION
Case 2:15-cv-07932-JAK-FFM Document 96 Filed 11/27/17 Page 2 of 2 Page ID #:954



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 2    Dated: November 27, 2017     CASILLAS & ASSOCIATES
 3                                 By: /s/ Arnoldo Casillas
 4                                 ARNOLDO CASILLAS
                                   DANIEL W. GILLETTE
 5                                 Attorneys for Plaintiffs
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                     NOTICE OF CONDITIONAL SETTLEMENT OF ENTIRE ACTION
